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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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WILLIAM E. CUTHBERT,
                                                                    JUDGMENT
                          Plaintiff,                                CV 18-4796 (JS)(AYS)

        - against -

THE TOWN OF EAST HAMPTON NEW YORK,
FRANK TROTTA and BARRY JOHNSON,

                           Defendants.
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        A Memorandum and Order of Honorable Joanna Seybert, United States District Judge,

having been filed on May 19, 2020; adopting the February 21, 2020 Report and

Recommendation of United States Magistrate Judge Anne Y. Shields; granting Defendants’

motion to dismiss pursuant to Rules 4(m), 12(b)(5) and 12(b)(6) of the Federal Rules of Civil

Procedure; dismissing Plaintiff’s Compliant; denying in forma pauperis status for the purpose of

any appeal; and directing the Clerk of the Court to mark this case closed, it is

        ORDERED AND ADJUDGED that Plaintiff William E. Cuthbert take nothing of

Defendants the Town of East Hampton New York, Frank Trotta, and Barry Johnson; that

Defendants’ motion to dismiss is granted; that Plaintiff’s Complaint is dismissed; that in forma

pauperis status for the purpose of any appeal is denied; and that this case is closed.


Dated: May 19, 2020
       Central Islip, New York

                                                                    DOUGLAS C. PALMER
                                                                    CLERK OF THE COURT
                                                             By:    /s/ James J. Toritto
                                                                    Deputy Clerk
